              IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                         1:19-cv-00260-MR

S. SHANE SMITH,                            )
                                           )
                        Plaintiff,         )
                                           )                ORDER
v.                                         )
                                           )
JUSTIN LYTLE                               )
Correctional Food Service Officer,         )
                                           )
                      Defendant.           )
__________________________________         )

       This matter is before the court on Defendant’s Motion to Excuse

Attendance at the Court-Hosted Settlement Conference (the “Motion,” Doc.

52).

       A telephonic settlement conference is set for Tuesday, November 9, 2021

from 9:00 a.m. to 11:00 a.m. The Court’s Order of October 4, 2021 provided

instructions regarding the parties’ participation in that conference and stated

that any request seeking permission to modify those instructions was to be

filed no later than November 2, 2021 or be subject to summary denial. Doc. 51.

       Defendant filed his Motion on November 3, 2021. Doc. 52. Therein,

Defendant requests that he be excused from personally attending the

November 9, 2021 conference. Doc. 52 at 1. Additionally, Defendant requests

that “a representative of the insurance carrier for any party” also be excused.


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Id.   Defendant contends that this request is justified because the North

Carolina Department of Public Safety (“NCDPS”), as Defendant’s employer, “is

responsible for payment of a final judgment or the amount due under

settlement of the action.” Id. at 1-2.

      Notwithstanding the fact that Defendant filed his Motion after the

November 2, 2021 deadline, the undersigned has considered Defendant’s

requests.

      In view of Defendant’s representation that NCDPS is responsible for

paying a final judgment or settlement amount, the undersigned will excuse a

representative from any involved insurance carrier from participating in the

conference. Defendant is advised, however, that a representative of NCDPS

must participate in the settlement conference and must have the ability to

negotiate and enter into any binding settlement agreement on behalf of

Defendant.

      With respect to Defendant’s participation, while defense counsel and the

NCDPS representative may have authority to negotiate and enter a binding

settlement on behalf of Defendant, as a party to the case Defendant himself

has a vested interest in the matter and the undersigned otherwise believes

Defendant’s personal participation in the conference may be beneficial. To

ensure that such participation is not unduly burdensome, Defendant and his

counsel may participate in the settlement conference from different physical

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locations if they so choose, as long as they are on one conference line during

the conference. See Doc. 51 at 2.

      IT IS THEREFORE ORDERED that Defendant’s Motion to Excuse

Attendance at the Court-Hosted Settlement Conference (Doc. 52) is GRANTED

IN PART AND DENIED IN PART as follows:

   (1) The request that a representative from any involved insurance carrier

      (i.e., a representative other than the NCDPS representative) be excused

      from participating is GRANTED; and

   (2) The request that Defendant Justin Lytle be excused from personally

      participating in the November 9, 2021 settlement conference is

      DENIED.



                                    Signed: November 3, 2021




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